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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

In re:                                          §   Chapter 15
                                                §
MtGox Co., Ltd. (a/k/a MtGox KK)                §   Case No. 14-31229-sgj-15
                                                §
         Debtor in a Foreign Proceeding         §
                                                §


 ORDER REGARDING MOTION FOR SETTING AND REQUEST FOR EXPEDITED
 HEARING ON CREDITORS GREGORY GREENE AND JOSEPH LACK’S MOTION
             FOR TERMINATION OF PROVISIONAL RELIEF

       The request for an expedited hearing on the Creditors Gregory Greene and Joseph
Lack’s Motion for Termination of Provisional Relief is GRANTED/DENIED.

        ____ A hearing will be held before the Honorable Stacey G. Jernigan, 1100 Commerce
Street, Room 1421, Dallas, Texas, on Tuesday, April 1, 2014 at 1:30 p.m. Counsel for Movants
shall serve this Order on interested parties.

         ____   No expedited hearing will be scheduled.

                                  # # # END OF ORDER # # #
Case 14-31229-sgj15            Doc 38-1 Filed 03/25/14 Entered 03/25/14 19:20:08   Desc
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